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                  IN THE DISTRICT COURT OF THE UNITED STATES
                      FOR THE DISTRICT OF SOUTH CAROLINA
                              GREENWOOD DIVISION


 UNITED STATES OF AMERICA                    )       CRIMINAL NO.: 8:19-cr-00181-DCC
                                             )
      v.                                     )
                                             )
                                             )
 TREVOR MAURICE HULL                         )


Count 21:

  ESSENTIAL ELEMENTS OF 21 U.S.C. SECTION 843(b) and 18 U.S.C. SECTION 2
          (Use of a Communications Facility to Facilitate a Drug Felony)

      A. The defendant knowingly and intentionally used a communication facility on or about
         the dates alleged in the indictment;

      B. the defendant used the communication facility with the intent to commit or facilitate
         the commission of a felony drug offense and;

      C. the defendant aided and abetted another in the commission of the offense.


PENALTY:
Maximum: 4 years
Fine: $250,000
Supervised release: 1 year
Special Assessment: $100.00
